IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 08-0665
                              ((((((((((((((((

 Jerry Dowdy, Shirley Dowdy, Leo Sandoval, Beatrice Sandoval And Kay Morris,
                                 Petitioners

                                     v.

               Union Carbide Corporation, et al., Respondents

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                           On Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((

      ORDER

      1.    Pursuant to the suggestion of bankruptcy of Houston Refining  LP
f/k/a Lyondell-Citgo Refining LP and Houston  Refining  LP  f/k/a  Lyondell-
Citgo Refining Company, Ltd., filed with this Court  on  January  20,  2009,
this case is ABATED effective as of January 7, 2009.
      2.    This case is abated pursuant  to  Tex.  R.  App.  P.  8.2  until
further order of this Court and is removed from the Court's  active  docket,
subject to reinstatement upon proper motion.  Tex.  R.  App.  P.  8.3.   All
motions and other documents pending or filed are  abated  subject  to  being
reurged in the event the case is reinstated.  Tex. R. App. P. 8.2  and  8.3.
It is the parties' responsibility to immediately notify this Court once  the
automatic bankruptcy stay is lifted.

      Done at the City of Austin, this 30th day of January, 2009.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




